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 8                       UNITED STATES DISTRICT COURT
 9                     CENTRAL DISTRICT OF CALIFORNIA
10                                   EASTERN DIVISION
11    LAMONT GARNER KARRIEM,                   )   Case No. 5:21-cv-01145-GW (JDE)
                                               )
12                      Plaintiff,             )
                                               )   ORDER ACCEPTING FINDINGS
13                                             )
                         v.                    )   AND RECOMMENDATION OF
14                                             )   UNITED STATES MAGISTRATE
      COUNTY OF RIVERSIDE, et al.,             )
15                                             )
                                                   JUDGE
                                               )
16                      Defendants.            )

17
18          Pursuant to 28 U.S.C. § 636, the Court has reviewed the records on file,
19    including the Complaint (Dkt. 1) filed by Plaintiff Lamont Garner Karriem
20    (“Plaintiff”); Plaintiff’s Request to Proceed In Forma Pauperis (Dkt. 2, “IFP
21    Request”); the operative First Amended Complaint (Dkt. 5, “FAC”); the
22    Report and Recommendation issued by the Magistrate Judge (Dkt. 8,
23    “Report”); and the Objections to the Report filed by Plaintiff (Dkt. 9). The
24    Court has engaged in a de novo review of those portions of the Report to which
25    objections have been made. The Court accepts the findings and
26    recommendation of the Magistrate Judge.
27          As a result, IT IS HEREBY ORDERED that:
28          1.    Plaintiff’s IFP Request (Dkt. 2) is DENIED;
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 1          2.   The federal claims asserted in the FAC (Claims One through Six)
 2               are DISMISSED with prejudice and the remaining state law
 3               claims in the FAC (Claims Seven through Ten) are DISMISSED
 4               without prejudice to being reasserted in state court; and
 5          3.   Judgment shall be entered dismissing this action accordingly.
 6          IT IS SO ORDERED.
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      Dated: October 13, 2021____         _____________________________
 8                                        GEORGE H. WU
 9                                        United States District Judge
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